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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                 2:06-cr-121-FtM-99DNF


HOWARD HENRY
SHEILA W. HENRY
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on defendants’ Emergency

Motion   to   Vacate   Judgment   of   Conviction   and   Sentence   Due   to

Violation of the Magistrate’s Act Under 28 USC § 636(b)(3) (Docs.

#265, #272).     A Declaration (Doc. #266) was filed by defendant

Howard Henry.    The Government’s Response (Doc. #268) was filed on

February 23, 2009.      The Court provided defendants with the notice

required by Castro v. United States, 540 U.S. 375 (2003)(Docs.

#273), and both defendant advised the Court that they did not want

the motion re-characterized as a motion under 28 U.S.C. § 2255

(Docs. #271, 274.)      Defendants also filed a Traverse (Docs. ##270,

275) to the government’s Response.

      In their identical Motions to Vacate, defendants argue that

the magistrate judge lacked jurisdiction to conduct the Rule 11

guilty plea colloquy without their consent, and that the written

consent forms contained in the file were not executed until after

the guilty pleas were taken by the magistrate judge.             Defendants
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also argue that the magistrate judge did not find a factual basis

for the wire fraud offense, and improperly decided the restitution

portion of the sentence.

                                     I.

      On June 29, 2007, both defendants, represented by retained

counsel, pled guilty before the assigned magistrate judge pursuant

to written Plea Agreements (Docs. #106, 107).             Both defendants

signed consent forms to have the magistrate judge take the guilty

plea (Docs. #108, 109), but each asserts that they did not sign

these consent forms until after the guilty plea colloquy, and that

this was done in the jail without the presence of counsel.               The

minutes of the guilty pleas were filed by the deputy clerk at 10:46

a.m. (Doc. #105), while defendants’ consent forms were filed at

2:46 p.m. and 2:47 p.m.       The Court is satisfied from the record

that at the time of the guilty plea colloquy defendants had not

signed the consent forms.      The magistrate judge filed a Report and

Recommendation (Docs. #110, 111) as to each defendant recommending

that their guilty pleas be accepted. No objections were filed, and

on July 2, 2007, the guilty pleas were accepted by the district

court judge and defendants were adjudicated guilty (Docs. #112,

113).   Neither defendant objected at time of sentencing to the fact

that the magistrate had conducted the guilty plea proceedings

without their prior written consent or that the forms had been

signed in the jail without the presence of their attorney.



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      On   May   21,    2008   the     Eleventh   Circuit       Court   of    Appeals

dismissed Sheila W. Henry’s direct appeal based upon a valid appeal

waiver provision in the Plea Agreement (Doc. #260). On October 14,

2008, the Eleventh Circuit affirmed Howard Henry’s conviction and

sentence      after    granting   court    appointed       counsel’s     motion     to

withdraw pursuant to Anders v. California, 386 U.S. 738 (1967).

                                         II.

      Because defendants are now proceeding pro se, the Court must

construe their request for post-conviction relief liberally, United

States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997), and consider

all possible bases of authority even though none may be identified

by defendant, United States v. Jordan, 915 F.2d 622, 624-25 (11th

Cir. 1990), cert. denied, 499 U.S. 979 (1991).                   The Court has no

inherent power to correct even an illegal sentence, but rather must

look to the specific parameters of federal statutes and the Federal

Rules of Criminal Procedure. United States v. Diaz-Clark, 292 F.3d

1310, 1315 (11th Cir. 2002), cert. denied, 539 U.S. 951 (2003).

      The Court finds no basis for jurisdiction to vacate the

sentence based upon the claimed failure to establish a factual

basis    in   the     guilty   plea    proceeding     or   in    the    restitution

calculation.        Both defendants have stated they do not want the

motion     considered    under    28    U.S.C.    §   2255,     and    none   of   the

provisions of 18 U.S.C. § 3582(c) are applicable here as to these




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issues.    There is no other jurisdictional basis to consider these

claims.

      The Eleventh Circuit has reviewed challenges to a magistrate

judge’s   authority     even   when   defendant   did    not    object   in   the

district court, noting that such challenges have been treated as if

they were jurisdictional issues. United States v. Schultz, No. 06-

11673, 2009 WL 1067393,          F.3d       (11th Cir. Apr. 22, 2009).          A

jurisdictional challenge can never be forfeited or waived, United

States v. Cotton, 535 U.S. 625, 630 (2002), and “a party may raise

jurisdiction at any time during the pendency of the proceedings,”

United States v. Giraldo-Prado, 150 F.3d 1328, 1329 (11th Cir.

1998).    The Court will therefore reach the issue of the magistrate

judge’s authority.

      The issue before the Court is whether a magistrate judge has

the authority to preside over a Rule 11 change of plea proceeding

which results in a report and recommendation to the district court

without the prior consent of the defendant. The government asserts

that neither the magistrate judge statute nor Rule 11 “precludes

the district court from having a magistrate judge, without the

consent of the defendant, conduct a plea hearing and then make a

report and recommendation to the district court, which may then

accept    or   reject   the    recommendation.”         (Doc.   #268,    p.   7.)

Defendants argue that a magistrate judge cannot preside over a

guilty plea proceeding without the defendant’s consent.



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      It is clear that a magistrate judge can preside over Rule 11

proceedings and accept a defendant’s guilty plea only with the

consent of the defendant.      United States v. Woodard, 387 F.3d 1329

(11th Cir. 2004), cert. denied, 543 U.S. 1176 (2005).            Similarly,

under the Local Rules, a magistrate judge has the authority to

accept guilty pleas in felony cases “with the consent of the

Defendant.”    Rule 6.01(c)(12), Local Rules of the United States

District Court for the Middle District of Florida.          That, however,

is not what happened in this case.           While the magistrate judge

presided over the Rule 11 proceedings, he did not accept either

defendant’s     guilty    plea,    but     rather   filed    reports     and

recommendations that the guilty pleas be accepted.              It was the

district court judge who accepted the guilty pleas.

      It is also clear that a magistrate judge may preside over Rule

11 proceedings with the consent of the parties.          United States v.

Benton, 523 F.3d 424, 432 (4th Cir. 2008); United States v. Reyna-

Tapia, 328 F.3d 1114, 119 (9th Cir. 2003), cert. denied, 540 U.S.

900 (2003); United States v. Osborne, 345 F.3d 281 (4th Cir. 2003);

United States v. Torres, 258 F.3d 791, 795-96 (8th Cir. 2001);

United States v. Dees, 125 F.3d 261 265 (5th Cir. 1997); United

States v. Ciapponi, 77 F.3d 1247, 1250-52 (10th Cir. 1996); United

States v. Williams, 23 F.3d 629, 633 (2d Cir. 1994).           None of the

parties, however, have cited any binding precedent as to whether

consent is required before a magistrate judge may preside over the



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guilty plea proceedings and issue a report and recommendation to

the district judge as to its acceptance.1

      Because defendants never raised the issue of the magistrate

judge’s authority to take their guilty pleas before the district

court, the issue is now reviewed under the plain error standard.

Schultz.       To show plain error, defendants must show that: (1) an

error       occurred;   (2)   the   error    was   plain;   (3)    it   affected

substantial rights; and (4) it seriously affected the fairness of

the judicial proceedings.            Schultz at *2.         Assuming for the

purposes of the current motions that defendants have satisfied the

first two elements, they have not satisfied either the third or

fourth      requirement.      The   record   establishes    that    having   the

magistrate judge conduct the Rule 11 proceedings, and then file a

report and recommendation to the district judge, did not affect

defendant’s substantial rights or the fairness of the judicial

proceedings.      Defendants never asserted at sentencing or elsewhere

that they were not guilty of the offense to which they pled guilty,

and did not allege any infirmity in the guilty plea colloquy or

complain that it was conducted by a magistrate judge. Accordingly,

defendants have not satisfied the plain error standard.

      Accordingly, it is now

      ORDERED:

        1
      Defendants’ reliance on United States v. Maragh, 174 F.3d
1202 (11th Cir. 1999) is not persuasive because that case was
abrogated by the Supreme Court in Gonzalez v. United States, 128 S.
Ct. 1765 (2008).
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      Defendants’ Emergency Motion to Vacate Judgment of Conviction

and Sentence Due to Violation of the Magistrate’s Act Under 28 USC

§ 636(b)(3) (Docs. #265, #272) are DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this           8th    day of

May, 2009.




Copies:
U.S. Magistrate Judge
Counsel of Record
Howard Henry
Sheila Henry




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